                     Case 08-13141-BLS                     Doc 3805            Filed 03/22/10             Page 1 of 2



                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

                                                                            Chapter      11



TRlBL,hlE COMPANY, et al.,r                                                 CaseNo.08-13141 (KJC)

                                       Debtors.                             Jointlv Administered
                                                                            Rerarei to Docket       N
                                                                                                        ".75'21     , 7lt        11




    ORDER PURSUANT TO 1l U.S.C. S lll2(BXl) DTSMISSING CHAPTER 11 CASE OF
            NEW RIVER CENTER MAINTE

                      Upon the joint motion (the "Mp!iSn")'of Tribune Company, et al., as debtors and

debtors in possession in the above-captioned jointly administered chapter I 1 cases (each                                             a



"Deb!gl" and collectively, the "DCblqC') for entry of                            an order pursuant to section               11   12(b)(1)   of
the Bankruptcy Code and Rules 1017 and 9014 of the Bankruptcy Rules dismissing the chapter



 I
   The Debtors in these chapter I I cases, along with the last four digits ofeach Debtor's fed€ral tax identiEoation number, are: Tribune Company
(0355); 435 Pmduction Company (E665); 5E00 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); Califomia
Community News Corporation (5306); Candle Holdings Corpomtion (5626); Channel20, Inc. (7399); Channel 39, Irc. (5256); Channel40, Inc.
(3E44); Chicago Avenue Constrirction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (343?);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, lnc. (3167)j Chicagoland Micmwavc Licensee, bc. (l57rr;
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Sp€cialty Producrs, Inc. (922 | ); Direcl Mail
Associatcs, Inc. (6121); Distribution Systems of Amenca, Inc. (38 | l); Eagle New Media Investments,    Ltt     (6661); Eaele Publishing
lnvestments, LLC (6327); forsalcbyowner.com corp. (0219); ForsaleByowner.com Referml Services, Lt,c (9205); Foniry Holdings Corporation
(5628); Forum Publishing Group,lnc. (2940);Cold Coast Publications, lnc (5505); cre€nco,lnc. (7416); Hean & Crown Advertising,lnc.
(9808); Homeowners Realty, lnc. ( 150?); Homesiead Publishing Co. (4903); Hoy, Lt,c (8033); Hoy Publications, Lrc (2352); Insertco, Inc.
(2663)i Intemet Forcclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Conpany II, Ltf; KIAH Inc. (4014); KILR, bc.
(7943): KSWB lnc. (7035); KTLA lnc. (3404);KWCN Inc. (5347); Los Angeles Times Communioarions             Llt          t
                                                                                                                    (1324);   s Ang€l€s Times
Inrcma onal, Ltd. (6079); Los Angeles Times Ncwspapen,Inc. (0416); MagicT Music Publishing Company (6522)t NBBF, LLC (0893);
Neocomm, tnc. (7208); New Mass. Media, Inc. (9553);New tuver Center Maintenance Association, Inc. (5621);Newscom S6vices, lnc. (4817);
Newspaper Readers Agency, Inc. (7335); North Michigah Production Company (5466); Nofth Orange Avenue Properties, lnc. (4056); Oak
Brook Pmductions, Inc. (2598); Orlando Sentinel Comhunications Company (3??5); Patuxent Publishing Company (4223); Publishers Forest
Pmducts Co. ofWashington (4750); Sentinel Conmunications News Ventures, Inc. (202?); Shepard's Inc. (?931); Signs of Distinction, lnc.
(3603); Southcm Connecticut Newspapers, Inc. (1455); Star Cornmunity Publishing Croup, Lrc (5612); Stemweb, Inc. (42?6); Sun,sentinel
Company (2684); The Baltimore Sun Company (6E80); The Daily Press, lnc. (9368); The Hartlord Courant Comp.ny (3490); The Moming Call,
Inc. (7560); The Other Company LI.C (5337);Times Mirrot land and Timber Company (708E);Times Minor Payroll Prcc€ssing Company, tnc.
(4227); Times Mirror Services Company, Inc. (1326); TMLH 2, Inc. (0720);TMLS I, Inc. (0719);TMS E errainment Cuides, Inc. (6325);
Tower Distribution Compaay (9066); Towering T Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune
Broadcasting Company (2569); Tribune Broadcasting Holdco, Lt,c (2534); Tribune Broadcasting News Nefir,,ork, Inc., r/lda Tribune
Washinglon Burau Inc, (1088); Tribune Califomia Prop€rties, Inc. (1629); Tribune CNLBC, Ll,c, f/lda Chjcago National LBague Ball Club,
Lt,c (0347); Tribune DirDct Marketing, lnc. (1479); Tribune Entenainment Corhpany (6232); Tribure Entertainmenr Production Compiury
(5393); Tribune Finance, Lrc (2537); Ttibune Financ€ Sewice Cenler, bc. (?844); Tribune License, Inc. (1035); Tribune Los Argeles, Inc.
(4522); Tribune Manlattan N€wspaper Holdings, Inc. (7279); Tribune Media Net, Inc. (784?); Tribune Media Services, Inc. (l080)l Tibune
Network Holdings Company (9936);Tribune New York Newspaper Holdings, LL-c (727E); Tribune NM, bc- (9939); Tdbune pubtisblrrg
Company (9720); Tribune Television Company (1634); Tribune Television Holdings, bc. (1630); Tribune Television New Orleans, Inc. (4055);
Tribunc Television Northwest, Inc. (2975); valuMail, Inc. (9512); Vireinia Community Shoppem, Lf-c (4025); Virginia Cazene Companies,
Lt,C (95E7); WATL, Lt,C (7184); WCWN Lt.C (5982); wDCw Broadcasting, tnc. (E300); WcN Continental Bmadcasting Company (9530);
WLVI lnc. (8074);W?X,lnc. (0191);and WTXX Inc. (1268). Tbe Debtorc' corpomte hcadquaners and the mailing address for each Debtor is
435 North Michigan Avenue, Chicago, Illinois 6061l.
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    Capitalized terms used but not defined herein shall have the meaning ascribed to such terms in the Motio11.
                    Case 08-13141-BLS            Doc 3805       Filed 03/22/10        Page 2 of 2



1   I   case of Debtor   New River Center Maintenance Association, Inc.; and upon consideration of

the Motion and all pleadings related thereto; and the Court finding that (a) the Court has

jurisdiction over this matter pursuant to 28 U.S.C. $$ 157 and 1334; (b) this matter is             a cQre


proceeding within the meaning of 28 U.S.C. $ 157OX2); and (c) notice of the Motion was due

and proper under the circumstances; and           it appearing ttrat the relief   requested in the Motion is   in

the best interests       ofthe Debtors   and their estates and creditors; and after due deliberation, and

good and sufficient cause appearing therefor, it is hereby:

                   ORDERED, that the Motion is granted and the chapter 11 case of New River

Center Maintenance Association, Inc., Case No. 08-13192 is hereby dismissed; and it is further

                    ORDERED, that all pleadings filed in the Debtors' chapter 1l cases shall bear a

consolidated caption in the form of Exhibit A attached hereto; and it is frrther

                    ORDERED, that this Court shall retain jurisdiction with respect to all matters

arising from or related to the implernentation of this Order.

Dated: Wilminston, Delaware
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